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                       UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                (PHILADELPHIA)

                                                  CHAPTER 13
IN RE:
Thomas Baker                                      CASE NO.: 20-14550-elf
       Debtor
                                                  HEARING DATE: August 17, 2021
                                                  TIME: 9:30 a.m.
                                                  LOCATION: COURTROOM #1

  MOTION OF NEWREZ LLC D/B/A SHELLPOINT MORTGAGE SERVICING FOR
   RELIEF FROM THE AUTOMATIC STAY PROVISIONS OF 11 U.S.C. § 362(A) TO
       PERMIT MOVANT TO COMMENCE OR CONTINUE FORECLOSURE
  PROCEEDINGS ON 3850 WOODHAVEN ROAD, #1002, PHILADELPHIA, PA 19154

         AND NOW COMES, NewRez LLC d/b/a Shellpoint Mortgage Servicing (“Movant”), by
and through its attorneys, Hill Wallack LLP, and respectfully represents as follows:
         1.     This Motion (the “Motion”) is filed by Movant for relief from the automatic stay
provisions of 11 U.S.C. § 362(a) to permit Movant to commence or continue its foreclosure on
real property located at 3850 Woodhaven Road, #1002, Philadelphia, PA 19154 (the “Mortgaged
Premises”).

         2.     On or about October 20, 2015, Thomas Baker (“Debtor”) executed and delivered
to Finance of America Mortgage LLC a Promissory Note (“Promissory Note”) in the principal
amount of $82,240.00. A true and correct copy of the Promissory Note is attached hereto and
made a part hereof as Exhibit “A.”

         3.     To secure the obligations under the Promissory Note, Debtor granted to
Mortgage Electronic Registration Systems, Inc. as nominee for Finance of America Mortgage
LLC a valid, enforceable, and recorded first lien and mortgage (the “Mortgage”) on the
Mortgaged Premises, all of the terms of which are incorporated herein by reference as if fully set
forth at length, which Mortgage was thereafter recorded in the Philadelphia County Recorder of
Deeds Office on March 17, 2016 as Doc ID 53035481. A true and correct copy of the Mortgage
is attached hereto and made a part hereof as Exhibit “B.”




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         4.     Movant is the current mortgagee by virtue of an Assignment of Mortgage. A true
and correct copy of the full recorded Assignment of Mortgage Chain is attached hereto and made
apart hereof as Exhibit “C.”

         5.     On November 24, 2020, Debtor filed a petition for relief under Chapter 13 of the
United States Bankruptcy Code.

         6.     The Debtor in his Amended Schedule A/B filed February 12, 2021 states that the
Mortgaged Premises is valued at $106,020.00.

         7.     Movant filed its Proof of Claim on December 30, 2020 as Claim #13-1 in the
amount of $84,337.68 together with additional legal fees and costs and taxes due and payable on
the Mortgaged Premises.

         8.     As of July 20, 2021, the principal balance due and owing on the Mortgage is
$76,296.26, exclusive of any fees, costs, and advances made by Movant.

         9.     The current monthly payment on the Mortgage is $575.62 per Proof of Claim
#13-1.

         10.    The Debtor’s First Amended Chapter 13 Plan (“Plan”), confirmed on June 29,
2021, states that Debtor will make post-petition payments directly to Movant.

         11.    The Debtor is currently in arrears post-petition for the failure to pay the post-
petition payments due May 1, 2021 through July 1, 2021 for a total of $1,726.86 ($575.62 x 3
months), less a suspense balance of $226.94, for a total amount due of $1,499.92.

         12.    Consequently, Movant is entitled to relief from the automatic stay pursuant to 11
U.S.C. § 362(d)(1) as the Debtor has defaulted on post-petition payments.




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         WHEREFORE, NewRez LLC d/b/a Shellpoint Mortgage Servicing, respectfully requests
that this Court enter an Order granting relief from the automatic stay provisions of 11 U.S.C. §
362(a) to allow Movant to proceed in its foreclosure of the Mortgaged Premises, to name the
Debtor in the foreclosure suit solely for the purpose of foreclosing their interests in the
Mortgaged Premises, and to allow Movant, or any other purchaser at the Sheriff’s Sale, to take
any legal action necessary to gain possession of the Mortgaged Premises.


                                                       Respectfully submitted,

                                                       By: /s/ Michael J. Shavel
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